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                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

                                                            Chapter 11
In re:
                                                            Case No. 23-10831 (MFW)
                                    1
Lordstown Motors Corp., et al.,
                                                            (Jointly Administered)
                         Debtors.
                                                            Objection Deadline:
                                                            February 20, 2024, at 4:00 p.m. (ET)

            NOTICE OF FILING OF FIFTH MONTHLY STAFFING AND
       COMPENSATION REPORT OF HURON CONSULTING SERVICES LLC
    FOR THE PERIOD FROM DECEMBER 1, 2023, THROUGH DECEMBER 31, 20232

       PLEASE TAKE NOTICE that, on August 7, 2023, the Official Committee of Unsecured
Creditors of Lordstown Motors Corp. and its affiliated debtors and debtors in possession (each, a
“Debtor” and collectively, the “Debtors”) filed the Application of Official Committee of Unsecured
Creditors for Order Authorizing the Employment and Retention of Huron Consulting Group LLC
as Financial Advisor to the Official Committee of Unsecured Creditors, Effective as of the
Retention Date [Docket No. 235] with the United States Bankruptcy Court for the District of
Delaware (the “Court”).

       PLEASE TAKE FURTHER NOTICE that, on August 23, 2023, the Court entered the
Order Authorizing the Employment and Retention of Huron Consulting Group LLC as Financial
Advisor to the Official Committee of Unsecured Creditors, Effective as of the Retention Date
[Docket No. 295] (the “Retention Order”).

       PLEASE TAKE FURTHER NOTICE that, in accordance with the Retention Order,
Huron Consulting Group LLC hereby files its fifth monthly staffing and compensation report on
the engagement for the period from December 1, 2023, through December 31, 2023 (the “Monthly
Report”), in the form attached to the Monthly Report as Exhibit 1.

        PLEASE TAKE FURTHER NOTICE that, in accordance with the Retention Order,
objections, if any, to the Monthly Report must be filed with the Court on or before February 20,
2024, at 4:00 p.m. (ET).




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    The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
    Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
    address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Order
    Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter 11 Professionals
    and Committee Members [Docket No. 181].
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Dated: January 30, 2024
Wilmington, Delaware               TROUTMAN PEPPER HAMILTON SANDERS LLP

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